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SO ORDERED.

SIGNED this 16th day of August, 2022.




                         UNITED STATES BANKRUPTCY COURT
                       MIDDLE DISTRICT OF NORTH CAROLINA
                               GREENSBORO DIVISION

   In re:                             )
                                      )
   Mya Deionshai Corbett,             )                     Chapter 13
                                      )                     Case No. 22-10293
        Debtor.                       )
   ___________________________________)
                                      )
   Mya Deionshai Corbett              )
                                      )
        Plaintiff,                    )
                                      )
   v.                                 )                     Adv. No. 22-02017
                                      )
   Towriffic Towing & Recovery and    )
   Oaktree Finance LLC                )
                                      )
        Defendant.                    )

                      ORDER CONTINUING PRE-TRIAL HEARING

          IT IS HEREBY ORDERED that the Pre-Trial hearing is hereby

    continued until September 7, 2022, at 2:00 pm.               No scheduling

    memorandum shall be filed subject to further order of the

    court.    The hearing will be held at the United States

    Bankruptcy Court, 101 S. Edgeworth Street, Greensboro, NC,

    Courtroom 1, Second Floor.


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                       Parties to be Served
                             22-02017

All parties to this Adversary Proceeding.




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